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                         UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION                                           ENTERED
                                                                                            11/12/2019
IN RE:                                         §
LUTHER WAYNE SMITH; aka SMITH                  §       CASE NO: 19-34093
       Debtor(s)                               §
                                               §       CHAPTER 7

                               ORDER SETTING HEARING

Hearing is set on the Emergency Motion to Redact (ECF No. 18) at 11:00 a.m. on December 4,

2019, in Courtroom 403, United States Courthouse, 515 Rusk St., Houston, Texas. The response

deadline is 5:00 p.m. on November 27, 2019. Requested relief that is unopposed by written

response prior to the response deadline may be ruled on without the necessity of a hearing. The

Court may grant or deny any relief sought in any motion/application or objection without hearing

based on responsive pleadings. The movant shall file and serve a hearing notice with the

response deadline on those parties specified by Bankruptcy Local Rule 9013(d) within 24 hours

of the entry of this order. The Court is not setting this on an emergency basis because the

complaint with the alleged personally identifiable information has already been restricted

from public viewing.


       SIGNED: 11/12/2019.


                                               ___________________________________
                                               Jeffrey P. Norman
                                               United States Bankruptcy Judge




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